Case 3:17-cv-00072-NKM-JCH Document 268 Filed 03/14/18 Page 1 of 1 Pageid#: 1951




                          IN TIIE UNITXD STATESDISTRICT COURT
                          FO R TH E W ESTERN DISTRICT OF W R GINIA
                                CH AR I.OTTE SW LLE DIW SIO N   N

   Elizabeth Sinesetah
                           Plaintiffts)
                                                   CivilA ction N o.3:17-cv-00072

   Jasoh K essler etal,

                            Defendantts).

                                CLERIC S ENTRY O F DEFA ULT

         Theaboveaotionwasiled inthisCom'tonOctober
                                            .            11, 2017.   TheDefendantts)Andrew
   M glin and M oonbaseHoldingsLLC was/were served on the following dates,and the Plaintiff
   hasprovided to thecoul'tan afsdavitand/orotherevidence dem onstrating properserviceofthe
   complaintonDefendantts):

   Andrew Anglin andM oonbaseHoldingsLLC       February 1,2018


          Thetimeforthedefendantts)toappear,answerorotherwisedefendhavingexpired,the
   tmdersignedClerkdoesherebyenterdefaultastothefollowingdefendantts):
                             M drew AnjlinandMoonbaseHoldingsLLC

          SeeFederalRulesofCivilProcedure,Rule55(a).
          CgpiesofthisEntryofDefaultshallbeprovided to al1cotmselofrecordandtothe
   Defendantts).

                                                  JULIA C.D UDLEY,CLER.
                                                                      K


                                                  By:
                                                        D e ty       rk
